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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


RICK MARKHAM,                                    )
                                                 )
                              Plaintiff,         )
                                                 )
                                                      Case No. 10-1363-MLB-KGG
                vs.                              )
                                                 )
THE BOEING COMPANY,                              )
                                                 )
                              Defendant.



                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant The Boeing Company appears for

the purpose of removing to the United States District Court for Kansas the action styled Rick

Markham v. The Boeing Company, currently pending in the District Court of Sedgwick County,

Kansas. As grounds for the removal, Defendant states as follows:

       1.       Plaintiff sued Defendant in the District Court of Sedgwick County, Kansas on

August 18, 2010, by filing her Complaint in the cause styled Rick Markham v. The Boeing

Company. Defendant was served on October 1, 2010. A complete copy of the Court file

obtained from the District Court of Sedgwick County, Kansas, consisting of Plaintiff’s Petition

for Damages is attached hereto as Exhibit A.

       2.       In the above-captioned action pending in the District Court of Sedgwick County,

Kansas, Plaintiff asserts: (1) disability discrimination under the Americans with Disabilities Act

(“ADA”) (Count I); (2) retaliation under the ADA. (Count II); and (3) age discrimination under

the Age Discrimination in Employment Act (“ADEA”). (See Plaintiff’s Complaint, attached

hereto as Exhibit A)
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       3.       Under 28 U.S.C. §§ 1441 and 1446, this case may be properly removed to this

Court at any time within thirty (30) days of Defendants being served with Plaintiff’s Complaint

and Summons. Defendant is timely filing this removal within thirty (30) days of service.

                                  Federal Question Jurisdiction

       4.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 by

reason of Plaintiff having asserted causes of action arising under federal law, i.e., the ADA and

the ADEA.

                                     Diversity of Citizenship

       5.       The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 by reason

of complete diversity jurisdiction between the parties.

       6.       Defendant has its principal place of business in Chicago, Illinois and is

incorporated under the laws of the State of Delaware. (See Plaintiff’s Complaint, ¶2, attached

hereto as Exhibit A).

       7.       Plaintiff is a resident of Kansas.    (See Plaintiff’s Complaint ¶1, attached as

Exhibit A).

       8.       Thus, the parties are completely diverse for the purposes of jurisdiction.

                Amount in Controversy Exceeds Jurisdictional Requirements

       9.       Plaintiff has requested and alleged damages in excess of $75,000. Specifically,

Plaintiff has alleged actual and compensatory damages in an amount exceeding $75,000 and

punitive damages in an amount exceeding $75,000. (See Plaintiff’s Complaint ¶¶17, 18, 33, and

34), attached as Exhibit A.

       10.      In summary, the Court has jurisdiction for two independent reasons:




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               (a)     First, Plaintiff has plead a claim under two federal statues (the ADEA and

                       ADA) and thus, removal is proper pursuant to 28 U.S.C. § 1331.

               (a)     Second, there is complete diversity between the parties and the amount in

                       controversy exceeds $75,000, and thus, removal is proper pursuant to 28

                       U.S.C. § 1332.

       11.     Promptly upon filing this Notice of Removal, Defendant shall give written notice

to Plaintiff and shall file a copy of this Notice of Removal with the Clerk of the District Court of

Sedgwick County, Kansas.

       WHEREFORE, Defendant The Boeing Company prays that this Court assume control

over this action as this action is properly removed on the grounds of federal question and

complete diversity.

                                  DESIGNATION OF TRIAL

       Defendant The Boeing Company designates Wichita, Kansas as the place of trial.

                                               Respectfully submitted,

                                               /s/ G. Nicole Hininger
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                                               Attorneys for Defendant
                                               THE BOEING COMPANY




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on the 21st day of October, 2010, a copy of the above and
foregoing was mailed, via United States mail, to the following:

        Albert F. Kuhl
        15700 College Boulevard, Suite 200
        Lenexa, Kansas 66219
        (913) 438-2760
        (913) 327-8492 (Facsimile)

        ATTORNEY FOR PLAINTIFF




                                              s/ G. Nicole Hininger ________________
                                               Attorneys for Defendant
                                               THE BOEING COMPANY



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